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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   CHROMADEX, INC. and TRUSTEES )
   OF DARTMOUTH COLLEGE,        )
                                )                       REDACTED PUBLIC VERSION
                                )
                Plaintiffs,     )
                                )                       C.A. No. 18-1434-CFC
       v.                       )
                                )
   ELYSIUM HEALTH, INC.,        )
                                )
                Defendant.

      DECLARATION OF MARCO J. QUINA IN SUPPORT OF ELYSIUM
      HEALTH’S MOTION FOR SUMMARY JUDGMENT (NO. 2) OF NON-
        INFRINGEMENT OF CLAIM 2 OF EACH ASSERTED PATENT

            I, Marco J. Quina, declare as follows:

            1.      I am counsel for Defendant Elysium Health, Inc. and I submit this

   Declaration in Support of Defendant Elysium Health’s Motion for Summary

   Judgment (No. 2) of Non-Infringement of each Asserted Patent’s Claim 2.

            2.      Attached as Exhibit A is a true and correct copy of excerpts of U.S.

   Patent No. 8,383,807.

            3.      Attached as Exhibit B is a true and correct copy of excerpts of U.S.

   Patent No. 8,383,086.

            4.      Attached as Exhibit C is a true and correct copy of excerpts of the

   transcript of the Markman hearing in this case held on December 18, 2020.




   {01683165;v1 }
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            5.      Attached as Exhibit D is a true and correct copy of Tanimori et al.,

   An Efficient Chemical Synthesis of Nicotinamide Riboside (NAR) and Analogues,

   Bioorg. Med. Chem. Lett., 12:1135–37 (2002).

            6.      Attached as Exhibit E is a true and correct copy of excerpts from the

   Deposition Transcript of Dr. Robert Larsen, taken April 7, 2021.

            7.      Attached as Exhibit F is a true and correct copy of excerpts from the

   Deposition Transcript of Dr. Robert Sobol, taken April 13, 2021.

            8.      Attached as Exhibit G is a true and correct copy of an excerpt of the

   Rebuttal Expert Report of James D. Adams, Ph.D. dated March 9, 2021.

            9.      Attached as Exhibit H is a true and correct copy of excerpts of the

   Opening Expert Report of Robert W. Sobol, Ph.D. Regarding Elysium’s

   Infringement of U.S. Patent Nos. 8,197,807 and 8,383,086, dated February 9, 2021.

            10.     Attached as Exhibit I is a true and correct copy of excerpts of the

   Reply Expert Report of Robert D. Larsen, Ph.D. dated March 30, 2021.

            11.     Attached as Exhibit J is a true and correct copy of excerpts from the

   Patent Owner Preliminary Response filed by Trustees of Dartmouth College in

   IPR2017-01796, dated November 3, 2017.

            12.     Attached as Exhibit K is a true and correct copy of excerpts from

   Plaintiffs’ First Amended Infringement Contentions, dated January 26, 2021.




   {01683165;v1 }
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            13.     Attached as Exhibit L is a true and correct copy of an excerpt of the

   document bates-labeled ELY_DEL0017823-892.

            14.     Attached as Exhibit M is a true and correct copy of an excerpt of the

   document bates-labeled ELY_DEL0029971-976.



            I declare under penalty of perjury that the foregoing is true and correct.

   Executed this 27th day of April, 2021, in Waltham, MA.

                                                                 /s/ Marco J. Quina

                                                              _______________________

                                                                     Marco J. Quina




   {01683165;v1 }
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                          EXHIBIT C
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       1                    IN THE UNITED STATES DISTRICT COURT

       2                    IN AND FOR THE DISTRICT OF DELAWARE

       3                                       - - -

       4
              CHROMADEX, INC. and                 :    CIVIL ACTION
       5      TRUSTEES OF DARTMOUTH               :
              COLLEGE,                            :
       6                                          :
                                 Plaintiffs,      :
       7                                          :
                    vs.                           :
       8                                          :
              ELYSIUM HEALTH, INC.,               :
       9                                          :
                                 Defendant.       :    NO. 18-1434-CFC
      10

      11
                                               - - -
      12
                                            Wilmington, Delaware
      13                                    Thursday, December 17, 2020
                                            9:00 o'clock, a.m.
      14                                    ***Telephone conference

      15                                       - - -

      16     BEFORE:   HONORABLE COLM F. CONNOLLY, U.S.D.C.J.

      17                                       - - -

      18     APPEARANCES:

      19
                            YOUNG CONAWAY STARGATT & TAYLOR LLP
      20                    BY: ADAM W. POFF, ESQ.

      21
                                       -and-
      22

      23

      24
                                                         Valerie J. Gunning
      25                                                 Official Court Reporter
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                                                                            2


       1     APPEARANCES (Continued):

       2

       3                   COVINGTON & BURLING LLP
                           BY: R. JASON FOWLER, ESQ. and
       4                        CHRISTOPHER N. SIPES, ESQ.
                                (Washington, D.C.)
       5

       6                            -and-

       7
                          PATTERSON BELKNAP WEBB & TYLER LLP
       8                  BY: JOSHUA R. STEIN, ESQ.
                               (New York, New York)
       9

      10                         Counsel for Plaintiffs

      11

      12                   ASHBY & GEDDES
                           BY: STEVEN J. BALICK, ESQ.
      13

      14                               -and-

      15
                           FOLEY & HOAG LLP
      16                   BY: DONALD R. WARE, ESQ. and
                                MARCO QUINA, ESQ.
      17                        (Boston, Massachusetts)

      18
                                 Counsel for Defendant
      19

      20                               -    -   -

      21

      22

      23

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       1                   THE COURT:    Then we've got a stipulated

       2     construction.    I'm going to go with that.

       3                   So I'm going to construe term B to mean

       4     nicotinamide riboside that is separated or substantially

       5     free from at least some of the other components associated

       6     with the source of the nicotinamide riboside.

       7                   All right.    Next, term C, plaintiff.

       8                   MR. SIPES:    Your Honor, Christopher Sipes again.

       9                   So now let's turn to slide 29.       This is the

      10     term --

      11                   THE COURT:    I will tell you what, before you go

      12     there, let me propose then this.       Can you live with term C

      13     being construed as, the nicotinamide riboside is isolated

      14     from a natural source or synthetic source and is not

      15     chemically synthesized?

      16                   MR. SIPES:    Your Honor, the problem I have with

      17     that is I don't know what that means.

      18                   THE COURT:    Yes.

      19                   MR. SIPES:    A synthetic source means what's in

      20     there has been chemically synthesized and then it's

      21     isolated.    If by that what is meant is there must be an

      22     isolation step in obtaining the nicotinamide riboside, that

      23     is our construction.     That if you do a chemical synthesis,

      24     just like if you do a natural synthesis, if you just use the

      25     milk, there's no isolation step.       If you remove the NR,
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       1     separate the NR out, there's an isolation step.          If you do a

       2     chemical synthesis, there's no isolation step.          That's not

       3     as isolated from a synthetic source.        If you then do an

       4     isolation step, there is.

       5                   That's our construction, we can live with that.

       6     What we're worried about, Your Honor, what Elysium is

       7     actually arguing is --

       8                   THE COURT:    Wait, wait.    Time out.    Hold up.

       9     You can live with it or not, because you're going to have an

      10     uphill battle, but I thought maybe you just said you could

      11     live with it.    Before you said you could live wit it.

      12                   MR. SIPES:    What I don't understand is what it

      13     means to be isolated from a synthetic source but not

      14     chemically synthesized, unless it's what we're saying, which

      15     is --

      16                   THE COURT:    Right.   I mean, okay.     So then that

      17     sounds like you can't live with it.        I mean, you may not

      18     understand it, but this goes back to -- and I will listen to

      19     you, but that's how I read the patent.        I mean, that's how I

      20     read it.   I don't think it's a close call.        I actually am

      21     going to say, if you want to pursue it, you're welcome to.

      22                   I think the argument borders on frivolous.         I

      23     think it could not be clearer and I think some of the

      24     statements that Dartmouth made in the IPR, I mean, I don't

      25     know how you can, with a straight face -- well, you can
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       1     argue with a straight face.       I don't mean to suggest that,

       2     but I do not know how that you can maintain the position,

       3     even putting aside what I think is clear language in the

       4     written description, but with what Dartmouth said in the

       5     IPR.

       6                   So let's just get a quick yes or no on the

       7     record and you're happy to do it and then we'll engage in

       8     argument.    I'm just trying to save us some time.

       9                   MR. SIPES:    Your Honor --

      10                   THE COURT:    Again, let's just hold on for the

      11     argument.

      12                   First of all, defendant, let me ask you first:

      13     Can you live with the construction of the disputed term as

      14     "the nicotinamide riboside is isolated from a natural source

      15     or synthetic source and is not chemically synthesized"?

      16     Can you live with that, defendant?

      17                   MR. WARE:    Yes, Your Honor.

      18                   THE COURT:    Okay.   Now, Mr. Sipes, you can

      19     answer yes or no, and if you answer no, then go ahead and

      20     make your argument.

      21                   MR. SIPES:    Your Honor, we cannot live with

      22     that.   What Elysium is arguing is adopting the chemical

      23     synthesis encompasses isolation.       We can live with that with

      24     the recognition that the patent distinguishes isolation from

      25     synthesis, which we think is how a POSA distinguishes it.
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       1     So, yes.   As long as what we're saying is it's not --

       2     chemically synthesized means there is not isolation, then we

       3     can live with that.     But they have argued, which is why

       4     we're being careful here, Your Honor, that the term

       5     synthesis encompasses isolation, so that in essence they're

       6     saying that nicotinamide riboside that is isolated from a

       7     synthetic source does not include nicotinamide that is

       8     isolated from a synthetic source.        That is what they are

       9     arguing, because they are saying the term chemical synthesis

      10     includes isolation.

      11                   As long as we're clear that chemical synthesis

      12     and isolation are different things, the patent clearly uses

      13     them differently.     It's exactly the phrase you're saying, is

      14     synthesis and isolation are different things, and as long as

      15     we understand that, something that is synthesized, something

      16     that has one step isolation is a different step, that is our

      17     position, that what is required here is that the

      18     nicotinamide be isolated, have gone through an isolation

      19     process, an isolation step.       But I don't want them

      20     redefining synthesis to mean isolation to say, see, you

      21     excluded isolated NR from a synthetic source and that's why,

      22     because that's what they are arguing.        They are saying

      23     synthesis means isolation.

      24                   We think the patent very clearly -- we're

      25     arguing over the same passages -- distinguishes between an
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       1     isolation step and a synthesis step, but they want to

       2     conflate the two and say, in giving up direct chemical

       3     synthesis, you also gave up isolation, and obviously, it

       4     doesn't give up isolation.       It says isolated from a

       5     synthetic source and the patent distinguishes them, and that

       6     is my hesitation, Your Honor, is I don't want them to come

       7     back and say you gave up isolation.

       8                   THE COURT:    All right.    Give me a couple of

       9     minutes here.    I want to think about something.        Hold on.

      10                   All right.    Mr. Sipes, my problem with your

      11     proposal is this.     The way I read the written description or

      12     the patent is to say essentially a distinction here is that

      13     in one instance when you're having isolation from a

      14     synthetic source, you're essentially beginning with a

      15     synthetic source.     The chemical synthesis is, the way I

      16     understand it is you're not, and you're essentially, you are

      17     creating a synthetic source, but it's anticipated that at

      18     the last step you're going to have some isolation, but it's

      19     what you are beginning with.       And that's the only way I can

      20     understand it gives meaning to all of the terms.

      21                   Let me hear from the defendant on that.         Am I

      22     off the mark on that, and if I am, please correct me.

      23                   MR. WARE:    No.   I think Your Honor is exactly

      24     right.   What the argument that we're hearing is that they

      25     want to make nicotinamide riboside that is chemically
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       1     synthesized also be NR that is isolated from the synthetic

       2     source so that claim 2 would apply to it.         And what they

       3     are really saying is that, you know, when you do a chemical

       4     synthesis as in chemistry, there are also byproducts.

       5     They call that a broth or something that you end up with,

       6     and so they say, as soon as you -- when you made it, made

       7     this brand-new NR, as soon as you extract it from the

       8     reaction, then all of a sudden it's isolated from a

       9     synthetic source.

      10                   And so they create this artificial distinction

      11     that says chemical synthesis doesn't involve any kind of

      12     isolation or extraction or whatever.        There's absolutely

      13     nothing in the specification that draws this distinction.

      14                   They did not present any expert testimony that

      15     drew this distinction.      The expert testimony that was there

      16     from Dr. Adams said exactly the opposite.         He said that in

      17     any chemical synthesis, there's -- you end up with a

      18     clarification step to extract the product.

      19                   Also, a couple other things just --

      20                   THE COURT:    Well, hold up.     You don't have to go

      21     further.   All right.

      22                   So, Mr. Sipes, kind of the ball is back in your

      23     court.

      24                   MR. SIPES:    Yes.

      25                   THE COURT:    It sound like you cannot live with
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       1     the construction I've given, it sound like.         Is that right?

       2                   MR. SIPES:    And because of exactly that

       3     argument.    Really, it makes no sense.      Let's remember the

       4     context here, Your Honor.      These were statements made in

       5     response to an IPR where Elysium came in and said milk, skim

       6     milk anticipates these claims, and we said it's not isolated

       7     because there's no isolation step.

       8                   So they were basically taking in that case the

       9     natural reaction broth, the milk, and saying, that's

      10     isolated NR, and we're saying, no, it's not.         Skim milk,

      11     butter milk, the fact that you are taking basically a

      12     natural reaction broth.      And now they are saying, oh, nobody

      13     would use a natural reaction broth.        But, no, that's their

      14     argument and that's the point that was being made in this

      15     response in the IPR, is that there has to be -- it's

      16     isolated.    There has to be an isolation step.

      17                   Now, they are now trying to take that

      18     distinction between the source with everything in it and

      19     the isolated NR and say, you gave that up on the synthetic

      20     side.

      21                   First of all, the claim language isolated from a

      22     synthetic source is clearly referencing NR that has been

      23     chemically synthesized and then isolated, but the whole

      24     context in which those statements were made was in the

      25     context of Elysium coming in and saying, milk is isolated
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       1     NR.    We were talking about these --

       2                   THE COURT:    All right.    But can I ask you, I

       3     mean, like, basically, you would agree, right, under your

       4     reading you can't have chemical synthesis without isolation,

       5     can you?

       6                   MR. SIPES:    Yes, you can, but it wouldn't be

       7     isolated NR, and the same way that you can have milk, you

       8     could have a reaction broth that had NR in it and use that.

       9     That's exactly the argument that Elysium was making in the

      10     IPR.    You take just a source of the NR, that broth, and you

      11     use that as a composition.      You can if that's what they

      12     argued.    That's what they argued.      Our point was, no, it's

      13     isolated.    You need to have an isolation step.

      14                   So we can tell you absolutely.       In fact,

      15     although they're dancing around it, everyone agrees --

      16                   THE COURT:    Hold on.    The problem is that the

      17     language in the written description is disjunctive.

      18                   MR. SIPES:    But, Your Honor, in this same way.

      19     So imagine, for example, to use that same language but

      20     instead of being naturally synthesized, we would understand

      21     we were distinguishing isolated NR from milk.          There's no

      22     difference when you say chemically synthesized.          It's

      23     exactly the same point and that was exactly the context

      24     here.

      25                   And, indeed, the interesting thing here is if
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       1     you look at those two sources, Tanimori and Franchetti,

       2     Franchetti itself recognized that because they followed

       3     Tanimori but then in the isolation, in an isolation step

       4     couldn't get the NR.     It's replete in here.      There's a

       5     difference between the source and then the isolation and

       6     that's the whole context.

       7                    Now, remember, this whole argument over milk is

       8     exactly the same point.      You create it, you have a broth.

       9     That's not what we were claiming.        We were claiming it where

      10     it is isolated, but we included it from natural or synthetic

      11     source.   Nobody would have problems distinguishing milk from

      12     isolated NR.    Similarly, there really is a clear distinction

      13     between the reacting product and the NR.

      14                    Now, look, if you could synthesize it in a way

      15     that in the broth you were so clean that you were

      16     substantially free of the other reactive products that are

      17     ordinarily there, then you might be isolated.          You wouldn't

      18     be is isolated.     It would have been no step.      I mean, one

      19     could hypothetically make that.       I suppose, if you developed

      20     a cow that had milk where the milk was 99 percent pure NR,

      21     you have that same issue, but there is no such cow.

      22                    But that point is isolated.      We're clearly

      23     distinguishing the reaction broth from the step of

      24     isolating, and that was central to the prosecution and to

      25     the IPR, the difference between the raw source and the
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       1     isolated NR.    And they are taking statements from that

       2     context.   Notice what they are relying on, too, are the

       3     statements in the IPR, but even in the patent.          That was the

       4     whole point of the patent.      NR had been around in milk, but

       5     nobody had thought to isolate it.

       6                    Similarly, it may well be that somebody carrying

       7     out a reaction had NR in a reaction broth, but that's not

       8     isolated NR either.     It's not the broth.      It's the isolated

       9     NR, and that's clearly what we were talking about.

      10                    MR. WARE:    Your Honor, could I bring this back

      11     to the intrinsic evidence?

      12                    THE COURT:   Yes.

      13                    MR. WARE:    Just make a brief comment here.

      14                    THE COURT:   Yes.

      15                    MR. WARE:    So Mr. Sipes keeps citing about milk.

      16     What we're talking about is chemical synthesis, and the

      17     patent very clearly refers to this third way that you can

      18     get NR and it can be chemically synthesized using

      19     established methods, and then what it does is it points you

      20     to two papers that set out established methods for

      21     chemically synthesizing the NR.       And then when you read

      22     those papers, you see that both of them go through a series

      23     of steps to synthesize NR and it ends with extracting or

      24     isolating the NR.

      25                    And Mr. Sipes just said, well, in Franchetti,
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       1     they tried to isolate and it was unsuccessful, and that's

       2     what they say in their slide, but they don't quote what

       3     follows after that.     It says, "Thus, we decided to

       4     re-investigate the above methodology making changes in some

       5     parameters to set up a stereoselective synthesis of NR," and

       6     then when you read -- that's on page -- that's on the first

       7     page of this paper, 4655, which is Exhibit 15.

       8                   And then on 4656, the next page, then they say,

       9     we obtained a stereoselectivity and synthesis of NR by

      10     condensation, et cetera, and they go through all of these

      11     various steps.    And the last sentence in that paragraph is

      12     describing the steps of their synthesis.         It says, the

      13     nucleoside one was then purified by chromatography on

      14     activated charcoal and isolated as a white solid.          In other

      15     words, at the end of the synthesis, you have pulled out a

      16     white solid nicotinamide that is the reaction product,

      17     that's the NR that has been chemically synthesized.

      18                   So the intrinsic evidence really could not be

      19     clearer that chemical synthesis includes all of these steps.

      20     There was no distinction drawn that said the chemical

      21     synthesis up until the point of isolation.         And the problem

      22     is that if you accept Mr. Sipes' argument, then claim 2 is

      23     the same as claim 1, because every time you chemically

      24     synthesis and extracted it, it has been isolated from a

      25     synthetic source, and there's no difference between claim 1
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       1     and claim 2.

       2                    And he says, well, you might just synthesize it

       3     and not extract it or not isolate it, but that can't be

       4     because claim 1 requires isolated nicotinamide riboside,

       5     and so what they are describing as the synthesis where you

       6     have not actually isolated the NR wouldn't fall.          It would

       7     be excluded from claim 1 as well as claim 2.

       8                    So you end up -- again, you end up with a

       9     dependent claim that has exactly the same scope as the

      10     independent claim and it just can't be right.          Chemical

      11     synthesis is, as the intrinsic evidence shows, chemical

      12     synthesis is a series of steps in which you perform various

      13     chemical reactions and end up isolating NR at the end of the

      14     day.   And this distinction was never drawn in the patent and

      15     this distinction was never drawn by Dartmouth in their

      16     statements where they talked about how claim 2 excluded

      17     chemically synthesized NR.      They didn't say chemically

      18     synthesized NR that hasn't been isolated.         So I think it's

      19     pretty straightforward.

      20                    THE COURT:   Okay.   Mr. Sipes, do you want to say

      21     anything else?

      22                    MR. SIPES:   I do, Your Honor.     Actually, the

      23     patentee did distinguish isolation from synthesis both in

      24     the patent and in the IPR.      For example, in Exhibit 5, which

      25     is what they point to, the response to the petition, on page
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       1     13, it says, as disclosed in the specification -- and this

       2     is on our slide 30 and confirmed by the words of the claim

       3     itself.   Isolated in claim 2 refers to the process of

       4     isolating the nicotinamide riboside for use in the claimed

       5     composition.    And the patent itself is clear, the different

       6     steps of synthesis and isolation.        And actually, Franchetti

       7     that he quoted from is, too.       Several places it

       8     distinguishes the synthesis and then the isolation.           Even

       9     the passage he just read has a synthesis and then which ends

      10     with a today.    To make the NR and then refers to pure

      11     fiction by chromatography.

      12                    There's a clear distinction in English between

      13     making something and isolating it, but that is exactly what

      14     the patent is about.     The patent is about isolating the NR

      15     from the sources.     And what they are trying to do is

      16     distinguish -- conflate the synthesis and the isolation even

      17     though what they rely on in the patent distinguishes between

      18     isolation and synthesis.      These are separate steps.       They're

      19     understood to be separate steps to a POSA.

      20                    The very intrinsic evidence he's talking about,

      21     the Franchetti paper, talks about isolation or purification.

      22     The patent talks about this.       And really, what would be left

      23     of isolation from a synthetic source?        That is the whole

      24     point.

      25                    Remember, again, it's about milk.       It's the same
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       1     idea on the synthetic side.         We would not be having this

       2     debate if it was isolated from a natural source as opposed

       3     to a natural production.      We would understand milk versus

       4     isolation.    It's exactly the same distinction here with a

       5     chemical synthesis.     And, in fact, contrary to what Mr. Ware

       6     just said, the patentee directly said that it refers to the

       7     process of isolation for use in the claimed composition.

       8     That is inherent in this.      Not clearly encompassing NR that

       9     was synthesized, but the key point is it then has to be

      10     isolated.

      11                    THE COURT:   All right.

      12                    MR. WARE:    If I can just add two sentences.

      13                    THE COURT:   No, no, no, no.

      14                    MR. WARE:    Okay.    Thank you.

      15                    THE COURT:   Just hold for a second.      I'm going

      16     to rule your way, so you can only hurt yourself.          Just give

      17     me a second.

      18                    MR. WARE:    I will mute myself.

      19                    THE COURT:   All right.     I'm going to construe

      20     this term to be "the nicotinamide riboside is isolated from

      21     a natural source or synthetic source and is not chemically

      22     synthesized."    I think that we have here a clear and

      23     unequivocal disavowal by the plaintiff.

      24                    So we start with claim 1 of the '086 patent,

      25     which was found invalid by the PTAB.        It reads, "A
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       1     pharmaceutical composition comprising nicotinamide riboside

       2     in admixture with a carrier, wherein said composition is

       3     formulated for oral administration."

       4                    Claim 2 depends from claim 1, and it further

       5     requires that "the nicotinamide riboside is isolated from a

       6     natural or synthetic source," and it is that phrase or this

       7     phrase which is really the entirety of the claim that the

       8     parties have asked me to construe.        The phrase also appears

       9     in dependent claim 2 of the '807 patent.         Claim 2 of the

      10     '807 contains almost identical language to claim 2 of the

      11     '086 patent, but the only difference being that the '807

      12     claims a composition instead of a pharmaceutical

      13     composition.

      14                    Claim 1 of the '807 patent from which claim 2

      15     depends is directed to a composition containing NR similar

      16     to claim 1 of the '086 patent.

      17                    The differences between the two claims, or

      18     independent claims, are mostly irrelevant to the

      19     construction of this phrase, the exception being that the

      20     composition in claim 1 of the '807 patent requires isolated

      21     NR whereas claim 1 of the '086 patent does not require that

      22     the NR be isolated.

      23                    Now, having considered the parties' arguments,

      24     the specification, the prosecution histories, I'm going to

      25     construe the phrase the way I've just articulated, and I've
Case 1:18-cv-01434-CFC-JLH Document 234 Filed 05/04/21 Page 32 of 73 PageID #: 12752
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       1     arrived at this construction after concluding that the

       2     inventor acted as his own lexicographer in distinguishing

       3     synthetic sources of NR from NR which is chemically

       4     synthesized, and that the patent owner, Dartmouth, disavowed

       5     clearly and unequivocally any constructions to the contrary

       6     during the IPRs of two patents.

       7                   So let's start with the lexicography.        The

       8     pertinent portion of the written description is found at

       9     column 23, lines 38 through -- hold on a second.

      10                   All right.    I'm sorry.    I had the wrong

      11     citation.    I want to make sure it's clear, it's very clear

      12     for the record, so let me just start over here.

      13                   The lexicography, which is the starting point,

      14     is found at column 28, lines 58 through 63 of the '807

      15     patent, so you can strike what I said earlier when I started

      16     to recite the incorrect column.       Again, just be clear, we're

      17     talking column 28, line 58 to 63.

      18                   The language in question reads, "The source of

      19     nicotinamide riboside can be from a natural or synthetic

      20     source identified by the method of the instant invention, or

      21     can be chemically synthesized using established methods."

      22                   We've got a disjunction and the first part of

      23     the disjunction says the source "can be from a natural or

      24     synthetic source."     The second alternative in the

      25     disjunction is that the source "can be chemically
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       1     synthesized using established methods."

       2                   The written description then goes on to cite two

       3     scientific articles referred to by their respective first

       4     authors, Tanimori and Franchetti.        And the written

       5     description says that these scientific articles provide

       6     "established methods."

       7                   Now, an artisan of ordinary skill reading this

       8     excerpt would understand that the patentee is stating that

       9     NR can be obtained in three different ways -- from a natural

      10     source, from a synthetic source, or from chemical synthesis

      11     described in the articles like Tanimori and Franchetti.           The

      12     written description also explains how an artisan of ordinary

      13     skill would obtain NR that is not chemically synthesized.

      14     Specifically, it explains that, and I quote, "synthetic

      15     sources of nicotinamide riboside can include any library of

      16     chemicals commercially available from most large chemical

      17     companies."    And I believe that is at column 27, lines 38 to

      18     41 of the patent, and I just confirmed it is.

      19                   Now, further confirming that the two claim 2s in

      20     the patent are imposing a source limitation on the NR are

      21     the statements of the patent owner Dartmouth during the two

      22     IPRs that I've mentioned.      In that case, in both cases,

      23     Dartmouth disavowed that NR isolated from synthetic source

      24     can overlap with NR which is chemically synthesized.

      25                   It's undisputed that a disavowal that's clear
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                                                                            49


       1     and unequivocal during the prosecution history effectively

       2     limits the scope of the claim and such a disavowal can occur

       3     during prosecution before the issuance of a patent as well

       4     as both before and after the institution of an IPR.           I refer

       5     you there to Aylus Networks against Apple, found at 856

       6     F3d., 1353 at page 1362.

       7                   Now, in its preliminary response to the petition

       8     for IPR review of the '807 patent, Dartmouth stated, and I

       9     quote, claim 2 is narrower than claim 1 because it further

      10     specifies that the nicotinamide riboside is isolated from a

      11     natural or synthetic source to the exclusion of chemically

      12     synthesizing the compound."       And then Dartmouth refers the

      13     Examiner to column 28, line 58 through 63.         In other words,

      14     the lexicography that we've been discussing.

      15                   And the key language there is that Dartmouth

      16     said that claim 1 is narrower because the isolation from the

      17     natural or synthetic source is "to the exclusion of

      18     chemically synthesizing the compound."

      19                   And then Dartmouth went on to say, and I quote,

      20     "Because claim 1 must necessarily be broader than claim 2,

      21     and in light of the teachings of the specification,

      22     nicotinamide riboside that is isolated from a natural or

      23     synthetic source must be distinguished from nicotinamide

      24     riboside that is chemically synthesized."         That's found at

      25     DI 100-5 at 13 and 14.
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                                                                            50


       1                   And in its response to the 2017-01795, which

       2     reviewed the '806 patent, Dartmouth said, "The construction

       3     of 'isolated' must be consistent with the scope of claim 2,

       4     which specifies that the nicotinamide riboside 'is isolated

       5     from a natural or synthetic source' to the exclusion of the

       6     third option of chemically synthesizing a compound."           That

       7     is at DI 100-6 at page 18.

       8                   ChromaDex tries to avoid being held accountable

       9     for the words of its co-plaintiff by arguing that these

      10     statements are more naturally read to mean that claim 2

      11     excludes NR that is chemically synthesized but not isolated

      12     from a natural or synthetic source.        It makes that statement

      13     at DI 99 at page 67.

      14                   I, however, do not find that reading natural at

      15     all.   I do not see how Dartmouth could have been more clear

      16     that chemically synthesized NR was excluded from the scope

      17     of the dependent claims, and as I mentioned earlier, I think

      18     the assertion to the contrary borders on being frivolous.

      19     The Federal Circuit extended disavowal to IPRs for exactly

      20     the situation we find ourselves in today, to "ensure that

      21     claims are not argued one way in order to maintain their

      22     patentability and in a different way against accused

      23     infringers," and that's at the Aylus Networks case,

      24     856 F3d., 1360.

      25                   These statements Dartmouth made during the IPRs
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                                                                            51


       1     and the statement found in the shared written description

       2     would make it unmistakable to an artisan of ordinary skill

       3     that the inventor was distinguishing NR, that was chemically

       4     synthesized from NR that was obtained from a synthetic

       5     source, i.e., a chemical library.        The dependent claims then

       6     are best understood as a source limitation.

       7                   For these reasons I will construe "the

       8     nicotinamide riboside is isolated from a natural or

       9     synthetic source" as is found in claim 2 of the '807 patent

      10     and claim 2 of the '086 patent to mean "the nicotinamide

      11     riboside is isolated from a natural source or synthetic

      12     source and is not chemically synthesized."

      13                   All right.    The next term, term D.      Mr. Sipes?

      14                   MR. SIPES:    All right, Your Honor.      So that's in

      15     combination with one or more of tryptophan, nicotinic acid

      16     or nicotinamide.     The parties' proposals are set forth on

      17     slide 42 of our deck, and the principal difference is

      18     whether the claim language requires a particular process for

      19     making the composition or the presence of both nicotinamide

      20     riboside and either tryptophan nicotinic acid or

      21     nicotinamide, the precursor.

      22                   THE COURT:    Right.   Now, let me tell you where I

      23     am on this right now.      Obviously, I've got to hear the

      24     arguments, but I'm in your camp on this one, but here's the

      25     thing that bothers me.      It's just that we are essentially --
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                          EXHIBIT D
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                          EXHIBIT E
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                                                                     Page 1

   1                       UNITED STATES DISTRICT COURT
   2                           DISTRICT OF DELAWARE
   3                       CA No. 1:18-CV-01434-CFC-JLH
   4      CHROMADEX, INC., et al.,               )
                                                 )
   5                    Plaintiffs,              )
                                                 )
   6      vs.                                    )
                                                 )
   7      ELYSIUM HEALTH, INC.,                  )
                                                 )
   8                    Defendant.               )
   9
  10         ************************************************
  11                       VIDEOTAPED ORAL DEPOSITION OF
  12                              DR. ROBERT LARSEN
  13                                APRIL 7, 2021
  14             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
  15                            (Reported Remotely)
  16         ************************************************
  17             On the 7th day of April, 2021, at 8:53 a.m., the
  18      videotaped oral deposition of the above-named witness
  19      was taken at the instance of the Defendant, via Zoom,
  20      before Michelle L. Munroe, Certified Shorthand
  21      Reporter in and for the State of Texas, the Witness
  22      located in Granbury, Texas, pursuant to the
  23      Thirty-Sixth Emergency Order Regarding the COVID-19
  24      State of Disaster, notice and the agreement
  25      hereinafter set forth.

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                                                                     Page 2                                                    Page 4
        1          APPEARANCES
                                                                               1            PROCEEDINGS
        2
          FOR THE PLAINTIFFS AND THE DEPONENT:                                 2            THE VIDEOGRAPHER (VIA ZOOM): Today is
        3   Mr Evan Krygowski (via Zoom)                                       3 Wednesday, April 7, 2021. The time is 8:33 a.m. We
            Mr R Jason Fowler (via Zoom)
        4   COVINGTON & BURLING LLP                                            4 are on the record. Our court reporter is Michelle
            850 Tenth Street, NW                                               5 Munroe. Michelle?
        5   Washington, DC 20001-4956
            202 662 5617 telephone                                             6             DR. ROBERT LARSEN,
        6   ekrygowski@cov com                                                 7 having been first duly sworn, testified as follows:
            jfowler@cov com
        7                                                                      8                EXAMINATION
        8                                                                      9 BY MR. QUINA (VIA ZOOM):
          FOR THE DEFENDANT:
        9   Mr Marco Quina (via Zoom)                                         10     Q. Good morning, Dr. Larsen. My name is
            FOLEY HOAG LLP                                                    11 Marco Quina from Foley Hoag. I'll be taking your
       10   155 Seaport Boulevard
            Boston, Massachusetts 02210-2698                                  12 deposition today. It's nice to meet you.
       11   mquina@foleyhoag com                                              13     A. Nice to meet you. Good morning.
       12
            Mr Mathew Weiss (via Zoom)                                        14     Q. Could you state your name and address for
       13   PATTERSON BELKNAP WEBB & TYLER LLP                                15 the record, please.
            1133 Avenue of the Americas
       14   New York, New York 10036-6710                                     16     A. Robert D. Larsen, 709 Aqua Vista Drive,
            mweiss@pbwt com                                                   17 Granbury, Texas 76049.
       15
       16
                                                                              18     Q. Do you understand you're testifying under
          ALSO PRESENT:                                                       19 oath today?
       17   Phil Hall, Video Technician (via Zoom)
       18
                                                                              20     A. Yes, I do.
       19                                                                     21     Q. And have you been deposed before?
       20
       21
                                                                              22     A. No.
       22                                                                     23     Q. So I assume similarly you have never
       23
                                                                              24 testified as an expert before; is that fair to say?
       24
       25                                                                     25     A. Not in this case. I have had within
                                                                     Page 3                                                    Page 5
        1             INDEX                                                    1 companies as an expert for writing patents but not
            WITNESS                        PAGE
        2                                                                      2 in this case.
            DR ROBERT LARSEN                                                   3     Q. Let me clarify my question a little bit.
        3
            Examination by Mr Quina                  4                         4         Have you ever testified in the litigation
        4                                                                      5 context as an expert?
        5 DEPOSITION EXHIBITS                     IDENTIFIED
        6 Exhibit 193 Expert report of Robert D
                                                                               6     A. No.
                   Larsen March 9, 2021           30                           7     Q. Okay. Have you ever testified in
        7
          Exhibit 194 Paper: Highly efficient and mild
                                                                               8 litigation before, either in a deposition or at
        8          synthesis of variously                                      9 trial?
                   5-substituted-4-carbaldehyde-1,2,3-                        10     A. No.
        9          triazole derivatives        58
       10 Exhibit 195 Diagram                     67                          11     Q. Okay. So I'll go over some ground rules.
       11 Exhibit 196 Paper by Tianle Yang, et al ,                           12 I'm sure counsel went over this with you as well,
                   Syntheses of nicotinamide riboside
       12          and derivatives: Effective agents                          13 but I'll do it again just to make sure we're on the
                   for increasing nicotinamide adenine                        14 same page.
       13          dinucleotide concentrations in
                   mammalian cells              80
                                                                              15         The first is try not to talk over each
       14                                                                     16 other. Understood?
          Exhibit 197 US Patent No 8,197,807           109
                                                                              17     A. Okay. Uh-huh.
       15
          Exhibit 198 Reply expert report of Robert                           18     Q. And the reason for that is the court
       16          D Larsen, March 30, 2021        130                        19 reporter needs to take down everything I say and
       17 Exhibit 199 Tanimori paper               155
       18                                                                     20 everything you say. And that makes her life a lot
       19                                                                     21 easier. It makes both our lives a lot easier.
       20
       21                                                                     22         Understood?
       22                                                                     23     A. Yes.
       23
       24
                                                                              24     Q. And let's try to talk slowly. I'm -- I
       25                                                                     25 suspect that we might get into some gnarly chemistry

                                                                                                                  2 (Pages 2 - 5)
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                             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                                          Page 142                                                   Page 144
                                                                      1     Q. Okay.
                                                                      2     A. There's a variety of containers so just
                                                                      3 container.
                                                                      4     Q. And does a certain amount of time have to
                                                                      5 pass for the NR to be packaged or is it packaged as
                                                                      6 soon as I put it in a container?
                                                                      7     A. I don't --
                                                                      8            MR. KRYGOWSKI (VIA ZOOM): Objection;
                                                                      9 form.
                                                                     10     A. I don't understand what you're asking.
                                                                     11     Q. Is the amount of time that it's in the
                                                                     12 package meaningful to whether it has been packaged
                                                                     13 or not?
                                                                     14     A. I don't know what you're getting at.
                                                                     15     Q. Let's say I take my NR, put it in a drum,
                                                                     16 seal it, put the top on, 5 seconds later I take the
                                                                     17 top off, pour it into a beaker.
                                                                     18         Has that NR been packaged?
                                                                     19     A. Yes, been packaged.
                                                                     20     Q. Okay. Let's say I take that NR and I put
                                                                     21 it in my drum, seal the drum, half a second later I
                                                                     22 take the top off, pour it into a beaker.
                                                                     23         Has it been packaged?
                                                                     24     A. Once you package it, and particularly in
                                                                     25 this case, it asks for -- it's labeled and you
                                                          Page 143                                                   Page 145
        1    Q. Those are obviously two sentences you                 1 actually ask for quality check or in the case of
        2 included in your report, correct?                           2 hold, the material for further processing, then
        3    A. Yes.                                                  3 that's indicative of holding -- packaging material
        4    Q. What do you mean by packaging in your                 4 and holding it.
        5 report?                                                     5     Q. Okay. How long do I need to hold the
        6    A. Well, it's -- you take the compound that's            6 material in the package for it to be packaged?
        7 isolated; you put it in a package. In this case, I          7     A. Once it's packaged, it's packaged.
        8 guess in the batch records, they are drums.                 8     Q. And why is packaging significant to your
        9    Q. Could you put them in, like, a bottle?                9 opinions?
       10    A. Sure.                                                10     A. It shows that you have completed the
       11    Q. Could you put them in a tube?                        11 synthesis. There's no further chemical steps on
       12    A. That probably wouldn't be a good way to              12 that material. It's packaged and labeled.
       13 store the compound. And plus, it wouldn't be               13     Q. Do you package and label it or do you just
       14 something that you would consider as a normal way of       14 need to package it?
       15 packaging a material. Packaging would be a sealed          15     A. In this case it's labeled. Generally, you
       16 container generally.                                       16 wouldn't put something in the package and then
       17    Q. Okay. Could you put it in a box, a sealed            17 forget what's in there. You would put some sort of
       18 box?                                                       18 a label on it to indicate what's in there.
       19    A. As long as it's sealed, yes, if it's                 19 Otherwise, how would you trust what's in there when
       20 package and sealed. It doesn't have to be sealed           20 you go back.
       21 but in terms you just wouldn't leave it out in the         21     Q. Go to paragraph 48 of your opinion.
       22 open.                                                      22     A. Okay. I'm there.
       23    Q. Okay. So packaging means sealing it up               23     Q. Do you see the last sentence of that
       24 somehow in some sort of container?                         24 paragraph starts with, The fact that?
       25    A. Put it in a container.                               25     A. Uh-huh.

                                                                                                     37 (Pages 142 - 145)
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                            HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                                        Page 154                                                    Page 156
        1 Dr. Larsen.                                               1        So Scheme 1 of the Tanimori paper shows
        2           THE WITNESS (VIA ZOOM): You mean open           2 the chemical synthesis of NR, correct?
        3 it up from my files or download it from the --            3     A. Correct, they labeled as beta NAR 1.
        4           MR. KRYGOWSKI (VIA ZOOM): Do you see            4     Q. Correct. That was the question I was
        5 up in the top right corner there's a download button?     5 going to ask as my next question.
        6           THE WITNESS (VIA ZOOM): Okay. I                 6        So in this -- in this scheme the product
        7 gotcha.                                                   7 of Tanimori's chemical synthesis is identified as
        8     Q. That solves it on my end. Can you work             8 beta (NAR) 1, correct?
        9 off a downloaded copy instead of your copy?               9     A. Correct.
       10     A. It hasn't opened up yet.                          10     Q. And in this scheme, Tanimori describes a
       11     Q. Sure.                                             11 chemical synthesis of beta (NAR) 1, correct?
       12     A. I don't know where it is. Okay. Got it.           12     A. Correct, as the triflate salt.
       13 Where are we again?                                      13     Q. Okay. And there are three steps in this
       14     Q. Let me start over again just so we have a         14 synthesis scheme, the synthesis of beta (NAR) 1,
       15 clear record. I think we were pretty far along.          15 right?
       16        So on paragraph 37 of your report, you            16           MR. KRYGOWSKI (VIA ZOOM): Objection;
       17 excerpt out one of the synthesis schemes for NR that     17 mischaracterizes the document.
       18 is shown in Tanimori, correct?                           18     A. It's considered a one-pot synthesis as he
       19     A. Yes.                                              19 describes it and the material is not isolated until
       20     Q. And you'll agree with me Tanimori                 20 the beta (NAR) 1.
       21 describes a chemical synthesis of NR, right?             21     Q. Okay. But the first reaction shown here
       22     A. Uh-huh. Yes.                                      22 is a formation of NR triacetate, correct?
       23     Q. And this scheme here you show that is             23     A. I'm sorry?
       24 Scheme 1 in the Tanimori paper?                          24     Q. Let me ask that a little bit more
       25     A. I don't have the paper in front of me. I          25 precisely.
                                                        Page 155                                                    Page 157
        1 assume.                                                   1        The first reaction here shown in Scheme 1
        2     Q. I won't make you assume. I'll show it to           2 is formation of an NR triacetate salt, correct?
        3 you. I'll mark that. I have just introduced               3     A. Yes, as a triacetate derivative.
        4 Exhibit 199. Let me know when you have it.                4     Q. And that's a triacetate derivative of NR,
        5            (Exhibit 199 marked.)                          5 right?
        6            MR. KRYGOWSKI (VIA ZOOM): Do you have          6     A. As drawn here, yes.
        7 it, Dr. Larsen?                                           7     Q. So the first step in this -- in this
        8            THE WITNESS (VIA ZOOM): Am I supposed          8 synthesis scheme is formation of an NR triacetate
        9 to be -- I'm sorry.                                       9 salt, correct?
       10     Q. If you have Exhibit 199.                          10     A. Correct.
       11     A. Okay. All right.                                  11     Q. And then the second step in this synthesis
       12     Q. Do you have it?                                   12 scheme is replacement of the acetate groups with
       13            MR. KRYGOWSKI (VIA ZOOM): Yes.                13 hydrogen atoms to form what is referred to here as
       14     A. Yes.                                              14 (NAR) 1, correct?
       15     Q. Okay. Is Exhibit 199 the Tanimori paper           15            MR. KRYGOWSKI (VIA ZOOM): Objection;
       16 that's referenced in the patent as a way which NR        16 mischaracterizes the document.
       17 can be chemically synthesized using established          17     A. Can you repeat that question?
       18 methods?                                                 18     Q. Sure. The second step in this synthesis
       19     A. Yes.                                              19 scheme is replacing of the acetate groups with
       20     Q. In your report you -- at paragraph 37 you         20 hydrogen atoms to form what's shown here as (NAR) 1?
       21 excerpt out Scheme 1 of Tanimori, correct?               21            MR. KRYGOWSKI (VIA ZOOM): Objection;
       22     A. Correct. Now should I be looking at the           22 mischaracterizes the document.
       23 Tanimori paper or the --                                 23     A. This is an isolated intermediate, a
       24     Q. We'll work off of the Tanimori paper, but         24 one-pot reaction. Once the intermediate is formed,
       25 I might refer you back to your report.                   25 they directly add methanol.

                                                                                                   40 (Pages 154 - 157)
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                                                        Page 158                                                   Page 160
        1     Q. And adding methanol causes the -- causes           1     Q. In Scheme 1 here it says he's performing a
        2 the NR triacetate to be deprotected and the acetate       2 crystallization, correct?
        3 groups are removed and replaced with hydrogen atoms,      3     A. He isolates the white solid. He doesn't
        4 correct?                                                  4 characterize it other than other forms. So
        5          MR. KRYGOWSKI (VIA ZOOM): Objection;             5 crystallization, he's kind of using that loosely.
        6 form.                                                     6     Q. Okay. And that -- in that third arrow
        7     Q. What was your answer?                              7 there in Scheme 1, why is he performing
        8     A. Correct.                                           8 chromatography on activated charcoal and then
        9     Q. So the second reaction to the synthesis            9 crystallizing?
       10 scheme is removal of acetate groups to form a            10           MR. KRYGOWSKI (VIA ZOOM): Objection;
       11 deprotected molecule, correct?                           11 form.
       12     A. Yes.                                              12     A. He states that he's removing the alpha
       13     Q. And in that second step, that results in          13 isomer (sic).
       14 something identified as (NAR) 1 in Scheme 1,             14     Q. Removing the what?
       15 correct?                                                 15     A. The alpha anomer.
       16          MR. KRYGOWSKI (VIA ZOOM): Objection;            16     Q. Okay. And he's removing other impurities
       17 mischaracterizes the document.                           17 as well, correct, when he's doing chromatography on
       18     A. So you're referring to (NAR) 1 what that          18 it, on charcoal?
       19 is showing? I'm unclear what your question is.           19     A. That's what he states. I don't have any
       20     Q. The deprotection reaction results in a --         20 evidence for that other than what he states about
       21 in a compound that Tanimori identifies as (NAR) 1,       21 the purpose of removing the alpha anomer.
       22 correct?                                                 22     Q. But that -- in that third arrow of his
       23     A. That's how he labeled it, yes.                    23 chemical synthesis, Tanimori is removing some
       24     Q. And he's labeled (NAR) 1 as a mixture of          24 reaction impurities such as the alpha isomer,
       25 alpha and beta anomers of NR, correct?                   25 correct?
                                                        Page 159                                                   Page 161
        1    A. That's what he indicates, yes.                      1     A. Let me go see what he says. Page 1136, he
        2    Q. So that (NAR) 1, it includes 87 percent             2 says, The residue was chromatographed on activated
        3 beta NR?                                                  3 charcoal to give -- he doesn't -- at least in this
        4    A. That's what he indicates.                           4 statement he doesn't say anything about removing
        5    Q. And then the third -- the third step of             5 impurities.
        6 this scheme is -- are a couple of purifications to        6     Q. But he's removing the alpha anomer as part
        7 removal impurities from (NAR) 1, correct?                 7 of that step, correct?
        8            MR. KRYGOWSKI (VIA ZOOM): Objection;           8            MR. KRYGOWSKI (VIA ZOOM): Objection;
        9 mischaracterizes the document.                            9 asked and answered.
       10    A. It's treated with charcoal as part of a            10     A. On the page -- the first page -- 1135 in
       11 purification.                                            11 the paragraph he states, The alpha anomer was
       12    Q. And it's also -- chromatography has been           12 removed by chromatography and activated charcoal.
       13 done on it?                                              13     Q. So in that third arrow of Tanimori's
       14    A. He indicates --                                    14 chemical synthesis, he's removing the alpha anomer
       15            MR. KRYGOWSKI (VIA ZOOM): Objection;          15 and isolating the beta anomer, correct?
       16 form.                                                    16     A. In the subsequent after he concentrates to
       17    A. He indicates in the paper that he uses             17 a syrup.
       18 charcoal for chromatography.                             18     Q. So after he concentrates to a syrup, he is
       19    Q. And he also does a crystallization?                19 removing the alpha anomer and isolating the beta
       20            MR. KRYGOWSKI (VIA ZOOM): Objection;          20 anomer, correct?
       21 form.                                                    21            MR. KRYGOWSKI (VIA ZOOM): Objection;
       22    Q. Correct?                                           22 asked and answered.
       23    A. He isolates the white solid. I wouldn't            23     A. From what this -- he says in the text,
       24 say it's necessarily crystallization. He hasn't          24 he's removing the alpha anomer.
       25 confirmed whether he isolates crystals.                  25     Q. And he's doing that in that third arrow of

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        1 the Tanimori's scheme, correct?                         1    Q. So this -- this shows some sequential
        2     A. He says, chromatography activated                2 steps that he's performing to conduct this reaction,
        3 charcoal.                                               3 correct?
        4     Q. And in that part of the synthesis when           4           MR. KRYGOWSKI (VIA ZOOM): Objection;
        5 he's conducting a chromatography on activated           5 mischaracterizes the document.
        6 charcoal, he's removing the alpha anomer, correct?      6    A. So he's running a one-pot reaction to make
        7     A. That's what he says in the text.                 7 (NAR) 1 and he's doing chromatography to remove the
        8           MR. KRYGOWSKI (VIA ZOOM): Objection;          8 alpha anomer.
        9 asked and answered.                                     9    Q. But he's -- he has three sequential steps
       10     Q. And that alpha anomer is a reaction             10 that he's doing in that one pod; is that correct?
       11 impurity, correct?                                     11           MR. KRYGOWSKI (VIA ZOOM): Objection;
       12     A. Correct.                                        12 mischaracterizes the document.
       13     Q. Okay. Here in the Tanimori synthesis            13    A. I would not consider those three separate
       14 scheme from the start until the beta (NAR) 1,          14 steps.
       15 there's three arrows, right?                           15    Q. Is he performing them at the same time?
       16     A. You're back at Scheme 1?                        16    A. No.
       17     Q. Yes.                                            17           MR. KRYGOWSKI (VIA ZOOM): Objection;
       18     A. Your question again.                            18 form.
       19     Q. So in Scheme 1 of Tanimori from the start       19    Q. Okay. He's performing those -- he's
       20 until the beta (NAR) 1, there's three arrows,          20 performing them sequentially, correct?
       21 correct?                                               21           MR. KRYGOWSKI (VIA ZOOM): Objection;
       22     A. Three arrows, but it's a one-pot reaction.      22 form.
       23 Go ahead.                                              23    A. Correct.
       24     Q. The first arrow shows the formation of a        24    Q. Okay. Let's go back to step two. In step
       25 triacetate salt of NR, correct?                        25 two, what does Tanimori have in this pot at the end
                                                      Page 163                                                    Page 165
        1    A. Correct.                                          1 of step two?
        2    Q. The second arrow shows the deprotection of        2           MR. KRYGOWSKI (VIA ZOOM): Objection;
        3 that triacetate salt of NR, correct?                    3 mischaracterizes the document and form.
        4    A. Correct.                                          4     A. He doesn't label these -- this as step
        5    Q. The third arrow shows a step of removing          5 two.
        6 reaction impurities such as the alpha anomer from       6     Q. Okay. At the end of the second arrow,
        7 the NR to obtain the beta (NAR) 1, correct?             7 what does Tanimori have in his pot after he
        8            MR. KRYGOWSKI (VIA ZOOM): Objection;         8 deprotected the compound?
        9 mischaracterizes the document.                          9     A. As he indicates there, (NAR) 1.
       10    A. This is a part of a continuous process. I        10     Q. And that's -- (NAR) 1 has got a mixture of
       11 mean, it shows an arrow to show that he's doing        11 alpha and beta anomers, correct?
       12 chromatography and activated charcoal. Generally       12     A. As he has indicated.
       13 that would be part of the workup.                      13     Q. And he also is going to have some methanol
       14    Q. Are all of these -- are all of these             14 in there too, right?
       15 arrows happening simultaneously?                       15     A. I assume because he hasn't done anything
       16    A. Sequentially.                                    16 to that mixture.
       17    Q. Okay. So he's not adding the MeOH. What          17     Q. And so before he gets to the beta (NAR) 1,
       18 is MeOH by the way?                                    18 the beta (NAR) 1 indicated here, he has to take the
       19    A. Methanol.                                        19 methanol out, right?
       20    Q. He's not adding methanol before he's             20     A. It depends on what he wants to do. Read
       21 creating the triacetate salt, is he?                   21 his experimental.
       22            MR. KRYGOWSKI (VIA ZOOM): Objection;        22     Q. Look at page 1136.
       23 form.                                                  23     A. He says the solvent was evaporated.
       24    A. Presumably from the way this is drawn,           24     Q. So he -- at end the of step two he's
       25 he's adding methanol to compound 9.                    25 taking the methanol out, correct?

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                           EXHIBIT I
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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE
    CHROMADEX, INC. and TRUSTEES OF          )
    DARTMOUTH COLLEGE,                       )
                                             )
              Plaintiffs,                    )
                                             )         C.A. No. 18-1434 (CFC)
              v.                             )
                                             )      HIGHLY CONFIDENTIAL –
    ELYSIUM HEALTH, INC.,                    )      ATTORNEY’S EYES ONLY
                                             )
              Defendant.                     )



                   REPLY EXPERT REPORT OF ROBERT D. LARSEN, PH.D.
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                  35.     As described above in Section VI, I understand the Court relied on the

   specification of the Asserted Patents to distinguish between NR chloride that is chemically

   synthesized and NR chloride that is isolated from a synthetic source.

                  [T]he patentee is stating that NR can be obtained in three different
                  ways -- from a natural source, from a synthetic source, or from
                  chemical synthesis described in the articles like Tanimori and
                  Franchetti. The written description also explains how an artisan of
                  ordinary skill would obtain NR that is not chemically synthesized.
                  Specifically, it explains that, and I quote, “synthetic sources of
                  nicotinamide riboside can include any library of chemicals
                  commercially available from most large chemical companies.” And
                  I believe that is at column 27, lines 38 to 41 of the patent, and I just
                  confirmed it is.

   ChromaDex, Inc. v. Elysium Health, Inc., C.A. No. 18-1434, Markman Hearing Transcript, at

   48:7–17 (Dec. 17, 2020). Dr. Adams also points to Tanimori and Franchetti as examples of

   chemically synthesized NR chloride. See, e.g., Adams Rebuttal Report ¶ 58. Thus, the specification

   of the Asserted Patents explains the difference between NR chloride that is chemically synthesized

   and NR chloride that is isolated from a synthetic source. See, e.g., ’807 Patent at 27:39–42 (isolated

   from a synthetic source), 28:58–63 (chemically synthesized).

                  36.     NR Chloride that is chemically synthesized is the resulting product of a

   chemical synthesis. The specification of the Asserted Patents explains that NR chloride “can be

   chemically synthesized using established methods”, such as the chemical syntheses described in

   Tanimori (2002) Bioorg. Med. Chem. Lett. 12:1135-1137 (“Tanimori”) and Franchetti (2004)

   Bioorg. Med. Chem. Lett. 14:4655-4658 (“Franchetti”).

                  37.     Tanimori describes a synthesis of NR triflate (1, shown below) that starts

   from β-D-ribofuranose 1,2,3,5-tetraacetate (6). Tanimori at 1135. To a solution of the tetraacetate

   and nicotinamide in acetonitrile is added trimethylsilyl trifluoromethanesulfonate (TMS triflate or

   TMSOTf), followed after an hour by methanol. Tanimori at 1136. Thirty minutes after the addition


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   of methanol, the solvent is removed from the reaction mixture, and the residue is purified by

   chromatography. Tanimori at 1136. The resulting oil is crystalized from methanol and ethyl acetate

   to give NR triflate, which the authors characterize by IR spectroscopy, 1H-NMR, and mass

   spectrometry. Tanimori at 1136.




   Tanimori at 1136.

                  38.    Franchetti also describes a synthesis of NR triflate (1, shown below) from

   either   1,2,3,5-tetra-O-acetyl-β-D-ribofuranose    (7)   or   1-O-acetyl-2,3,5-tri-O-benzoyl-β-D-

   ribofuranose (8) using a protected form of nicotinamide (4). Franchetti at 4656. The triacetate

   compound (9) is deprotected with ammonia in methanol, and the resulting NR triflate is purified

   by chromatography on activated charcoal to complete the synthesis of NR triflate. Franchetti at

   4656. The authors confirm the identity and purity of the NR triflate by 1H-NMR and 13C-NMR,

   and elemental analysis. Franchetti at 4656.




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   Franchetti at 4656.

                  39.     The syntheses described in Tanimori and Franchetti would be readily

   understood and carried out by a person of ordinary skill in the art. They include sequences of

   chemical reactions and purification steps, and they end with an analysis to confirm the identity and

   determine the amount of the final product.

                  40.     NR chloride that is isolated from a synthetic source is different from NR

   chloride that is chemically synthesized. The specification of the Asserted Patents explains that a

   library of commercially available chemicals is a synthetic source of NR chloride. ’807 Patent at

   27:39–42. A person of ordinary skill in the art would be familiar with chemical libraries, or

   chemical collections, that consist of stored compounds. A person of ordinary skill in the art would

   therefore understand that NR isolated from a synthetic source, such as a chemical library, refers to


                                                   13
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                                                                 IPR2017-01796

              UNITED STATES PATENT AND TRADEMARK OFFICE
                             _______________

             BEFORE THE PATENT TRIAL AND APPEAL BOARD
                           _______________

                            ELYSIUM HEALTH, INC.,
                                  Petitioner

                                         v.

                     TRUSTEES OF DARTMOUTH COLLEGE,
                                Patent Owner
                              _______________

                               Case IPR2017-01796

                                 Patent 8,197,807
                                 _______________



        PRELIMINARY RESPONSE TO PETITION FOR INTER PARTES
                 REVIEW OF U.S. PATENT NO. 8,197,807
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                 3.       Goldberger and Tanner Does Not Disclose A
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   cellular components of cow’s milk so that the nicotinamide riboside can be isolated

   suitably for use in the claimed compositions. See ’807 patent, at 27:45-54, 33:30-

   45. Accordingly, the specification supports Patent Owner’s proposed construction

   of the phrase “is isolated from a natural or synthetic source” as “fractionated from

   other cellular components.”

                2.     Patent Owner’s Proposed Constructions Are Consistent
                       With The Claims

         In light of the teachings in the specification, the ’807 patent claim language

   also supports Patent Owner’s claim construction proposals for the “isolated” terms,

   including that the Board should construe the broader phrases in which the

   “isolated” terms appear.        Although the word “isolated” appears in both

   independent claim 1 and dependent claim 2, the context in which the terms appear

   is critical for defining the terms in the manner dictated by the specification.

         The phrase “isolated nicotinamide riboside” appears in claim 1, the only

   independent claim.     Claim 1 specifically claims compositions of the isolated

   nicotinamide riboside in combination with other components, the specific type of

   formulation, and the effect of those compositions:

         A composition comprising isolated nicotinamide riboside in
         combination with one or more of tryptophan, nicotinic acid, or
         nicotinamide, wherein said combination is in admixture with a
         carrier . . . wherein   said   composition    is   formulated   for   oral


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         administration    and   increases   NAD+      biosynthesis   upon    oral
         administration.

   ’807 patent, at 53:59-54:58 (emphasis added). As supported by the specification,

   the “isolated nicotinamide riboside” recited in claim 1 refers to the nicotinamide

   riboside molecule itself. In other words, as used in claim 1, “isolated nicotinamide

   riboside” is nicotinamide riboside that is substantially free from other molecules.

         In contrast, claim 2 recites that “the nicotinamide riboside is isolated from a

   natural or synthetic source.”    ’807 patent, at 54:60-61.      As disclosed in the

   specification and confirmed by the words of the claim itself, “isolated” in claim 2

   refers to the process of isolating the nicotinamide riboside for use in the claimed

   compositions. Claim 2 is narrower than claim 1 because it further specifies that the

   nicotinamide riboside “is isolated from a natural or synthetic source,” to the

   exclusion of chemically synthesizing the compound. See ’807 patent, at 28:58-63.

   The correct definition of the phrase in which “isolated” appears in claim 2 will

   therefore be the one that is consistent with the scope of the claim itself.

   Specifically, the construction should be consistent with the disclosure of standard

   methods for isolating extracts from natural sources, such as fractionating

   nicotinamide riboside from other cellular components. See ’807 patent, at 27:45-

   54.




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         Accordingly, the claim language of dependent claim 2 confirms that the

   Board should construe the phrase “is isolated from a natural or synthetic source.”

   Because claim 1 must necessarily be broader than claim 2, and in light of the

   teachings of the specification, nicotinamide riboside that “is isolated from a natural

   or synthetic source” must be distinguished from nicotinamide riboside that is

   chemically synthesized. In other words, nicotinamide riboside that “is isolated

   from a natural or synthetic source” is nicotinamide riboside that is fractionated

   from other cellular components.

                3.    Petitioner’s Proposed Constructions Should Not Be
                      Adopted

                      a.     Petitioner’s Proposed Constructions Are Inconsistent
                             With the Specification and Claims
         Petitioner’s proposed constructions ignore the teachings of the specification

   in favor of a single, incomplete, phrase pulled out of context. Although Petitioner

   quotes the majority of the passage discussing “isolated” nucleic acids, Petitioner

   concludes that any molecule in the patent is “isolated” if it is “separate or

   substantially free from at least some of the other components of the naturally

   occurring organism.”      Pet. at 6.    Although Petitioner claims its proposed

   constructions for the “isolated” terms are pulled from the specification, Petitioner’s

   proposals are incomplete because they ignore the language of the claims

   themselves and the teachings in the specification regarding nicotinamide riboside.


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